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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


                                          MINUTES

CASE CAPTION: Carlson v. Fewins, et al


Case Number: 1:08-cv-991
Date: July 23, 2018
Time: 9:09 a.m. - 10:05 a.m.
Place: Kalamazoo
Judge: Paul L. Maloney


APPEARANCES

       Plaintiff: Grant W. Parsons

       Defendants: Christopher K. Cooke

PROCEEDINGS

       Nature of Hearing: Final Pretrial Conference held; trial to commence August 7, 2018




Court Reporter: Kathleen Thomas                  Case Manager: Amy Redmond
